Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 1 of 38 PageID 726




                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

DONALD DE LA HAYE,

                         Plaintiff,

v.                                                         Case No: 6:18-cv-135-Orl-22GJK

JOHN C. HITT, DANIEL J. WHITE, A.
DALE WHITTAKER, MARIBETH
EHASZ, MARCOS R. MARCHENA,
ROBERT A. GARVY, KEN BRADLEY,
CLARENCE H. BROWN, III , JOSEPH
CONTE, NICK LARKINS, JOHN
LORD, ALEX MARTINS, BEVERLY J.
SEAY, WILLIAM SELF, JOHN
SPROULS, DAVID WALSH and
WILLIAM YEARGIN,

                         Defendants.


                                            ORDER

       This cause comes before the Court on Defendants’ Motion to Dismiss Plaintiff Donald De

La Haye’s Complaint. (Doc. 43.) Plaintiff responded in opposition. (Doc. 47.) After being granted

permission from the Court, Defendants replied. (Doc. 53.) On June 11, 2018, the Court held a

hearing on Defendants’ Motion. The motion is now ripe for review. For the foregoing reasons, the

Court will DENY in part Defendants’ Motion as to Count I and GRANT in part Defendants’

Motion as to Count II.

                                       I. BACKGROUND

A. FACTUAL BACKGROUND

       This action stems from the University of Central Florida’s (“UCF”) removal of Plaintiff

from the UCF football team and cancellation of his 2017–2018 athletic scholarship because of his

alleged violation of the National Collegiate Athletic Association’s (NCAA) Bylaw 12.4.4. (Doc.
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 2 of 38 PageID 727




1.) UCF alleged Plaintiff violated Rule 12.4.4 by monetizing 1 his YouTube channel, which

contained videos of Plaintiff discussing his life as a student-athlete and depicting his skills as a

football player. (Id.)

        As early as 2011, prior to his UCF enrollment and placement on the UCF football team,

Plaintiff created multiple YouTube channels where he posted videos that he created. (Id. ¶ 14.)

Plaintiff has been making and posting videos on social media platforms since he was twelve years

old. (Id. ¶ 13.) On June 5, 2015, prior to Plaintiff’s UCF enrollment, he created a YouTube channel

named “Deestroying,” the channel at issue. (Id. ¶ 15.) His videos are mostly autobiographical,

consisting of documentation of his daily life as a student-athlete. (Id. ¶ 17.) As a result of Plaintiff’s

entertaining and insightful posts and comments, Plaintiff has gained a strong following on social

media sites, including over 500,000 YouTube subscribers and almost 85,000 Instagram followers.

(Id. ¶ 18.) Plaintiff asserts that he had a substantial social media following prior to his UCF

enrollment and that UCF recognized that his following was because of his creativity and film-

making talent and not a result of his student-athlete status. (Id. ¶¶ 19–20.)

         In 2015, Plaintiff received an athletic scholarship to attend UCF. (Id. ¶ 10.) He forfeited

other educational and athletic opportunities in reliance on his admission to UCF and his receipt of

the athletic scholarship. (Id. ¶ 11.) Plaintiff relied on that scholarship as his sole means to finance

his education. (Id.) In the Fall 2015 semester, Plaintiff matriculated at UCF and majored in pre-

marketing. (Id. ¶¶ 10, 12.) Plaintiff became a kicker on UCF’s football team. (Id. ¶ 9.) He played

in all thirteen games of the 2016 season. (Id.) During his time on UCF’s football team, Plaintiff

remained active on social media where Plaintiff, like other social media users, used his image,


1
  Monetization allows creators of YouTube content, like Plaintiff, to earn money by allowing advertisements to be
placed on their videos and by subscribers watching their videos. How to Earn Money from Your Videos, Subpart to
About the YouTube Partner Program, YOUTUBE,https://support.google.com/youtube/answer/72857?hl=en (last
visited June 19, 2018). To be eligible, a content creator’s YouTube channel must have been watched for 4,000 hours
in the previous twelve months and obtained 1,000 subscribers. Id.

                                                      -2-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 3 of 38 PageID 728




name, and physical and intellectual attributes to communicate with his friends and followers. (Id.

¶ 21.) UCF never deemed any of Plaintiff’s posts or videos to be inappropriate or offensive. (Id. ¶

23.) UCF also never alleged that Plaintiff’s social media communications caused disruption or

brought disfavor on UCF. (Id. ¶ 23.) Further, Plaintiff was never disciplined by UCF for any

academic, athletic, or personal misconduct of any kind. (Id. ¶ 25.)

         Prior to Plaintiff’s removal from the football team and cancellation of his scholarship,

Plaintiff’s coach recommended that his 2016–2017 scholarship be renewed for the 2017–2018

academic year. (Id. at 37.) Plaintiff’s scholarship for the 2016–2017 academic year was a full

football scholarship in the amount of $21,488.00, which covered his tuition and fees, room, board,

course related books, and miscellaneous expenses. 2 (Doc. 43-2 at 5.) Under the scholarship

agreement’s terms, the scholarship was in effect for one academic year and could be renewed on

a year-to-year basis for up to four years. (Id. at 6.) The agreement stated: “You are eligible to

receive this athletically related financial aid provided you. . . abide by team, University, and NCAA

codes, bylaws, rules, and regulations. . . .” (Id.) The scholarship agreement also warned Plaintiff

that “if you render yourself ineligible for intercollegiate competition, or if you fail to comply with

these terms and conditions listed in this grant-in-aid, your grant-in-aid may be canceled as per

guidelines established by the University, UCFAA, and the NCAA.” (Id.)

         By mid-2017, Plaintiff had amassed a sufficient following on social media and he was able

to receive modest compensation based on his original content on his “Deestroying” YouTube

channel, otherwise known as monetization. (Doc. 1 ¶ 31.) At some point, UCF learned about the

monetization of Plaintiff’s YouTube channel and discussed the issue with him. (See Id. ¶¶ 26–27.)

Plaintiff offered to demonetize the videos on the “Deestroying” Youtube channel that referenced



         2
           As discussed infra, although generally courts are limited to the face of the complaint and its attachments
when deciding a 12(b)(6) motion to dismiss, the Court can consider the scholarship agreement because it is central
to Plaintiff’s claims. See Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997).
                                                         -3-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 4 of 38 PageID 729




his status as a student-athlete or depicted his skills as a football player. (Id. ¶ 34.) UCF rejected

Plaintiff’s offer to demonetize these videos and stated that Plaintiff could not post videos on his

“Deestroying” Youtube channel that referenced his status as a student-athlete or depicted his skills

as a football player, if the page also contained any other monetized videos (even without those

depictions). (Id. ¶ 35.) Plaintiff alleges that UCF told him that he could not post a video to his

account showing him standing on a beach throwing a football to his girlfriend if monetized videos

were also on the same page. (Id. ¶ 36.) Consequently, on or about July 31, 2017, UCF removed

Plaintiff from the football team and cancelled his scholarship. (Id. ¶ 26.) Since Plaintiff lost his

scholarship, he was unable to afford to continue his studies at UCF. (Id. ¶¶ 47, 50.)

         Plaintiff asserts that UCF supposedly took these actions to comply with the NCAA rules.

(Id. ¶ 27.) The NCAA is a voluntary organization that regulates student athletics for member

universities, including UCF. (Id.) According to Plaintiff, UCF is not required to be a NCAA

member and can withdraw at anytime. (Id. ¶ 28.) Plaintiff also asserts that NCAA lacks authority

over UCF’s admission or scholarship determinations. (Id. ¶ 29.) Plaintiff alleges that the NCAA

rules broadly prohibit student expression, including a student receiving compensation in

connection with the use of a student’s name, image, appearance, or physical attributes. (Id. ¶ 30.)

Plaintiff specifically quotes NCAA Bylaw 12.4.4, which states: “[a] student-athlete may establish

his or her own business provided that the student-athlete’s name, photograph, appearance or

athletics reputation are not used to promote the business.” (Id.)3




         3
           Although not mentioned in the Complaint, on July 11, 2017, UCF submitted a Legislative Relief Waiver
on Plaintiff’s behalf to the NCAA to avoid the normal application of NCAA Bylaw 12.4.4 to Plaintiff. (Doc. 53-1 at
8.) In the request, UCF asked that Plaintiff be allowed to conduct his YouTube business while being able to play on
the football team and receive his scholarship. (Id.) The NCAA denied the waiver, but agreed to allow Plaintiff to
keep his monetized YouTube account if he would remove the videos on the account that referenced his status as a
student-athlete or depicted his football skills or ability. (Doc. 53 at 5.) This will not be considered in the Court’s
resolution of Defendants’ 12(b)(6) motion to dismiss as it is not a part of the Complaint nor central to the Complaint.
                                                         -4-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 5 of 38 PageID 730




B. PROCEDURAL HISTORY

        On January 25, 2018, Plaintiff filed a two-count complaint seeking declaratory and

injunctive relief against seventeen UCF officials in their official capacities, including UCF

President John C. Hitt and Vice President and UCF Director of Athletics Daniel D. White,

(collectively the “UCF Defendants”).4 (Id. ¶¶ 2–6.) Pursuant to § 1983, Plaintiff brings claims

for violation of his right to free speech under the First and Fourteenth Amendments (Count I) and

violation of his substantive right to due process under the Fourteenth Amendment (Count II).

Under Count I, Plaintiff alleges that UCF’s policies, practices, or customs in implementing NCAA

Bylaw 12.4.4 against Plaintiff is overly broad, not content neutral, not narrowly tailored to serve

compelling governmental interests, and does not leave open ample alternative channels of

communication. (Id. ¶ 41.) Plaintiff asserts that UCF’s cancellation of his scholarship was an

adverse action taken by UCF solely because Plaintiff communicated on social media and received

modest compensation for those communications. (Id. ¶ 44.) Plaintiff asserts that UCF’s decision

was based on the content of those communications, including Plaintiff’s references to his life as a

student-athlete. (Id. ¶ 45.) Plaintiff alleges that as a result of UCF’s continued violation of

Plaintiff’s constitutional rights, he is now being and will continue to be denied his athletic

scholarship and his place on UCF’s football team. (Id. ¶ 47.) As a result, he cannot continue his

education at UCF. (Id.) Under Count II, Plaintiff alleges that the arbitrary cancellation of his

scholarship violates his substantive due process right under the Due Process Clause of the

Fourteenth Amendment. (Id. ¶ 53.) Plaintiff alleges that the cancellation of his scholarship was

“arbitrary, unreasonable, and not reasonably related to a legitimate government interest because it


        4
          Other UCF Defendants are A. Dale Whittaker, in his official capacity as UCF’s Provost and Vice
President for Academic Affairs, and Maribeth Ehasz, in her official capacity as UCF’s Vice President for Student
Development and Enrollment Services. (Doc. 1 ¶¶ 4–5.) The remaining UCF Defendants are sued in their official
capacities as members of UCF’s Board of Trustees: Marcos R. Marchena; Robert A. Garvey; Ken Bradley; Clarence
H. Brown III; Joseph Conte; Nick Larkins; John Lord; Alex Martins; Beverly J. Seay; John Sprouls; William Self;
David Walsh; William Yeargin. (Id. ¶ 6.)
                                                     -5-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 6 of 38 PageID 731




was unrelated to his academic status, disciplinary standing, or athletic performance.” (Id. ¶ 52.)

Plaintiff asserts that he has a vested and constitutionally protected property interest in his athletic

scholarship. (Id. ¶ 49.) Plaintiff asserts that UCF’s cancellation of his scholarship resulted in his

inability to continue his education at UCF. (Id. ¶ 50.)

       Plaintiff seeks declaratory, injunctive relief, costs, and expenses, including reasonable

attorney’s fees. (Id. at 11–12.) Plaintiff seeks a judgment “declar[ing] that UCF’s policies,

practices, or customs of relying on the NCAA rule in taking adverse actions against [Plaintiff]

based on the content of his speech is unconstitutional because it violates his right to freedom of

speech and due process of law guaranteed by the First and Fourteenth Amendments to the United

States Constitution.” (Id.) Plaintiff also seeks “a permanent injunction against UCF and all agents,

administrators, employees, or other persons acting on behalf of UCF, from enforcing the NCAA

Policy against [Plaintiff] and reinstating his scholarship eligibility and all consequences flowing

therefrom.” (Id at 12.)

       On April 2, 2018, the UCF Defendants filed a Motion to Dismiss the Complaint. (Doc. 43.)

The UCF Defendants move to dismiss the Complaint under 12(b)(1) and 12(b)(6) on five grounds:

(1) Plaintiff’s requested relief is barred by the Eleventh Amendment because he seeks payment of

state funds by UCF to correct past alleged breaches of legal duties by state officials; (2) Plaintiff’s

scholarship was conditioned on his complying with the NCAA rules and thus he waived his alleged

claims; (3) Plaintiff lacks standing to bring his claims because former students do not have standing

to challenge the policies of their former schools in suits for equitable relief; (4) Plaintiff fails to

state a viable substantive due process claim because there is no constitutionally protected right to

participate in intercollegiate athletics and any state-created right to athletic scholarship funds is

not a fundamental right; and (5) Plaintiff’s requested relief is useless as he cannot re-enroll for the




                                                 -6-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 7 of 38 PageID 732




2017–2018 academic year (which is over), and he has no protectable right to receive football

scholarship funds for any future academic years. (Doc. 43 at 2–3.)

       On April 30, 2018, Plaintiff responded in opposition. (Doc. 47.) On May 18, 2018, the

UCF Defendants replied. (Doc. 53.) On June 11, 2018, the Court heard oral argument on the

Motion to Dismiss.

                                   II. LEGAL STANDARDS

A. Rule 12(b)(1) Standard

       The UCF Defendants move to dismiss the Complaint under 12(b)(1) and 12(b)(6). Rule

12(b)(1) enables a defendant to move to dismiss a complaint for lack of subject matter jurisdiction.

Fed. R. Civ. P. 12(b)(1). Rule 12(b)(1) applies to the UCF Defendants’ arguments based on

standing and the Eleventh Amendment. See Focus on the Family v. Pinellas Suncoast Transit

Auth., 344 F.3d 1263, 1272 (11th Cir. 2003) (“[Standing] directly implicates federal subject matter

jurisdiction.”) (citations omitted); Smith v. Avino, 91 F.3d 105, 107 (11th Cir. 1996), abrogated on

other grounds by Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 118 S. Ct. 1003, 140 L. Ed.

2d 210 (1998) (“Under the law of this Circuit, Eleventh Amendment immunity is considered to be

in the nature of subject matter jurisdiction. . . .”). When considering a facial attack on subject

matter jurisdiction, the court must, as with a Rule 12(b)(6) motion, take the complaint’s allegations

as true. Morrison v. Amway Corp., 323 F.3d 920, 925 n.5 (11th Cir. 2003). Attacks on the factual

underpinning of jurisdiction, on the other hand, may allow a court to “consider extrinsic evidence

such as deposition testimony and affidavits.” Carmichael v. Kellogg, Brown & Root Servs., Inc.,

572 F.3d 1271, 1279 (11th Cir. 2009). With factual attacks, “the burden is on the plaintiff to prove

that jurisdiction exists.” Gibbs v. United States, 865 F. Supp. 2d 1127, 1135 (M.D. Fla. 2012)

(quoting OSI, Inc. v. United States, 285 F.3d 947, 951 (11th Cir. 2002), aff’d, 517 F. App’x 664

(11th Cir. 2013). Here, since the parties submitted extrinsic evidence, such as declarations, e-mails,


                                                 -7-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 8 of 38 PageID 733




and scholarship documents to support and oppose the Motion to Dismiss, the Court construes the

UCF Defendants’ challenge as a factual attack, and the Court is therefore not bound to weigh

Plaintiff’s allegations in his Complaint in the light most favorable to him. See Houston v. Marod

Supermarkets, Inc., 733 F.3d 1323, 1335–36 (11th Cir. 2013) (construing a 12(b)(1) challenge as

factual because the parties submitted evidence outside of the complaint).


B. Rule 12(b)(6) Standard

       The remainder of the UCF Defendants’ arguments are analyzed under Federal Rule of Civil

Procedure 12(b)(6). For purposes of deciding a motion to dismiss for failure to state a claim under

Federal Rule of Civil Procedure 12(b)(6), the Court accepts as true the factual allegations in the

complaint and draws all reasonable inferences in the light most favorable to the plaintiff. Randall

v. Scott, 610 F.3d 701, 705 (11th Cir. 2010). “Generally, under the Federal Rules of Civil

Procedure, a complaint need only contain ‘a short and plain statement of the claim showing that

the pleader is entitled to relief.’” Id. (quoting Fed. R. Civ. P. 8(a)(2)). However, the plaintiff’s

complaint must provide “enough facts to state a claim to relief that is plausible on its face.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (citing Twombly, 550 U.S. at 556). Thus,

the Court is not required to accept as true a legal conclusion merely because it is labeled a “factual

allegation” in the complaint; it must also meet the threshold inquiry of facial plausibility. Id.

       Generally, a Rule 12(b)(6) motion is limited to the face of the complaint and any

attachments. Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th Cir.

1997). “However, where the plaintiff refers to certain documents in the complaint and those

documents are central to the plaintiff’s claim, then the court may consider the documents part of

                                                 -8-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 9 of 38 PageID 734




the pleadings for purposes of Rule 12(b)(6) dismissal.” Id. “[T]he defendant’s attaching such

documents to the motion to dismiss will not require conversion of the motion into a motion for

summary judgment.” Id. Additionally, the court may consider matters of which the court may take

judicial notice. Tellabs v. Makor Issues & Rights, Ltd., 551 U.S. 308, 323, 127 S. Ct. 2499, 2509,

168 L. Ed. 2d 179 (2007). In this case, while the parties attached numerous documents to their

respective Motion, Response, and Reply, Plaintiff did not attach any documents to his Complaint

other than the Civil Cover Sheet. (Doc. 1.) However, Plaintiff refers to his 2017–2018 scholarship,

which is a renewal of his 2016–2017 scholarship, in his Complaint. (See, e.g., Doc. 1 ¶¶ 37, 44,

47.) The UCF Defendants attached a copy of the 2016–2017 scholarship agreement to their

Motion. (Doc. 43-2.) This scholarship agreement is central to Plaintiff’s claims because the

impetus of this action is the cancellation of Plaintiff’s scholarship under the terms of the

scholarship agreement. Therefore, the UCF Defendants’ Motion to Dismiss need not be converted

to a motion for summary judgment.

                                           III. ANALYSIS

A. Standing

        “Standing is a threshold jurisdictional question which must be addressed prior to and

independent of the merits of the parties’ claims.” Bowman v. G.F.C.H. Enters.,Inc., No.14-22651-

Civ, 2014 WL 5341883, at *1 (S.D. Fla. Oct. 20, 2014) (citations omitted). To establish standing

under Article III of the Constitution, a plaintiff must allege the following: “(1) injury-in-fact; (2)

a causal connection between the asserted injury-in-fact and the challenged action of the defendant;

and (3) that the injury will be redressed by a favorable decision.” Houston, 733 F.3d at 1328

(citations and internal quotation marks omitted). Moreover, since Plaintiff is seeking declaratory

and injunctive relief, “the injury-in-fact requirement insists that . . . [P]laintiff allege[s] facts from

which it appears there is a substantial likelihood that he will suffer injury in the future.” Strickland


                                                  -9-
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 10 of 38 PageID 735




 v. Alexander, 772 F.3d 876, 887 (11th Cir. 2014) (citations and internal quotation marks omitted).

 “This is because injunctions regulate future conduct only. . . . So a plaintiff seeking declaratory or

 injunctive relief must allege and ultimately prove a real and immediate—as opposed to a merely

 hypothetical or conjectural—threat of future injury.” Id. (citation and internal quotation marks

 omitted). “Past injury from alleged unconstitutional conduct does not in itself show a present case

 or controversy regarding injunctive relief, if unaccompanied by current adverse effects.” Lynch v.

 Baxley, 744 F.2d 1452, 1456 (11th Cir. 1984) (citing O’Shea v. Littleton, 414 U.S. 488, 94 S. Ct.

 669, 38 L. Ed. 2d 674 (1974)). In this case, the UCF Defendants essentially argue that the

 Complaint should be dismissed because Plaintiff has not established a threat of future injury or

 that a favorable decision will redress his injuries. However, the Court finds that Plaintiff has

 established standing.

        1. Injury-in-Fact

        The UCF Defendants argue that since Plaintiff is no longer a UCF student or subject to the

 NCAA rules he challenges, and thus faces no imminent risk that UCF will again enforce the NCAA

 rules against him, he cannot establish standing because he faces no actual or imminent injury.

 (Doc. 43 at 16.) The UCF Defendants assert that former students lack standing to challenge the

 policies of their former schools and therefore Plaintiff, a former student, lacks standing to

 challenge the policies at issue in this case. (Id.) The UCF Defendants argue that as a non-student,

 Plaintiff is no longer subject to the NCAA rules and he does not allege any facts to suggest that he

 faces an immediate threat of exposure to the NCAA rules. (Id.) The UCF Defendants highlight

 that Plaintiff does not seek and has not applied for readmission to UCF and Plaintiff has not

 requested an order to place him back on the UCF football team. (Id.) Relatedly, the UCF

 Defendants assert that there is no allegation that Plaintiff will seek and receive readmission into

 UCF, and thus no allegation that he will ever again be subject to the challenged policies. (Id. at


                                                 - 10 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 11 of 38 PageID 736




 17.) The UCF Defendants further argue that even if Plaintiff did seek readmission to UCF, he

 would still lack standing because any alleged injury resulting from UCF’s future enforcement of

 the NCAA rules against Plaintiff would be speculative, at least and until he is readmitted to UCF

 and accepted back onto its football team. (Id.)

        In response, Plaintiff argues the UCF Defendants’ claim that he lacks standing because he

 is no longer a student at UCF is nonsensical: Plaintiff did not leave UCF voluntarily but was forced

 out of school because he would not surrender his First Amendment rights. (Doc. 47 at 6.) Plaintiff

 argues the Supreme Court has long recognized that former students have standing to seek relief

 against schools that expel or otherwise punish them in ways that violate their First Amendment

 rights. (Id.) (citing Papish v. Board of Curators of Univ. of Mo., 410 U.S. 667 (1973) and Tinker

 v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969)). However, these cases are of little

 help as neither of them address standing. Plaintiff also argues the UCF Defendants are incorrect in

 contending that he has failed to allege he will seek and receive readmission to UCF. (Id.) Plaintiff

 points out that in his request for relief he seeks reinstatement of “his scholarship eligibility and all

 consequences flowing therefrom.” (Id.) Plaintiff states that an obvious consequence of reinstating

 Plaintiff’s scholarship eligibility is that he would seek readmission and be readmitted to UCF. (Id.)

 Plaintiff asserts that the only reason he left UCF was because his scholarship was his sole means

 to finance his education and he has submitted a declaration to support this assertion. (Doc. 47 at 6;

 De La Haye’s Decl., Doc. 47-1 ¶ 5.) In Plaintiff’s declaration, he also states, “If my scholarship

 eligibility were restored, I would immediately seek readmission to UCF.” (Doc. 47-1 ¶ 22.)

        In reply, the UCF Defendants assert that, to establish standing to seek prospective

 injunctive relief against UCF, Plaintiff cites two inapposite cases from outside the Eleventh

 Circuit, referring to Flint v. Dennison, 488 F.3d 816, 823–24 (9th Cir. 2007), and Shepard v. Irving,

 77 F. App’x 615, 620 (4th Cir. 2003). (Doc. 53 at 2.) The UCF Defendants assert that these cases


                                                   - 11 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 12 of 38 PageID 737




 do not alter the hornbook principle that former students lack a present injury to establish standing

 to seek prospective equitable relief against their former schools. (Id.) Instead, the UCF Defendants

 argue that these cases merely hold that a student seeking to expunge disciplinary records

 unsurprisingly alleges an ongoing injury sufficient to confer standing. (Id.) In contrast, in this case,

 Plaintiff is not seeking to expunge his disciplinary records. (Id.) However, Plaintiff relies on these

 cases to address the applicability of the Eleventh Amendment, not standing. (Doc. 47 at 11.) In

 fact, Shephard does not discuss standing and Flint addresses standing only briefly in its mootness

 analysis. The UCF Defendants also reject Plaintiff’s reliance on Papish v. Board of Curators of

 University of Missouri, 410 U.S. 667 (1973), as it involves a former student challenging her

 expulsion and in the present case, Plaintiff was not expelled and could have continued and funded

 his studies with student loans like other non-scholarship students; instead, the UCF Defendants

 assert that he chose to stop attending classes during the Summer 2017 semester and unenrolled

 from classes for the Fall 2017 and Spring 2018 semesters. (Doc. 53 at 2) (citing Keaton’s Decl.,

 Doc. 53-1 ¶ (5)(B).)

          “[T]o have standing, [a] [p]laintiff . . . must show past injury and a real and immediate

 threat of future injury.” Kennedy v. Beachside Commercial Properties, LLC, No. 17-14356, 2018

 WL 2024672, at *2 (11th Cir. May 1, 2018) (citation and internal quotation marks omitted)5. The

 UCF Defendants’ arguments essentially go to threat of future injury and not past injury-in-fact.

 Plaintiff has adequately shown past injuries-in-fact, such as the alleged violation of his First

 Amendment rights, being removed from the football team, and the cancellation of his scholarship.

 See Elrod v. Burns, 427 U.S. 347, 373, 96 S. Ct. 2673, 2690, 49 L. Ed. 2d 547 (1976) (“The loss

 of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes




          5
           Unpublished opinions of the Eleventh Circuit constitute persuasive, not binding, authority. See 11th Cir.
 R. 36-2 and I.O.P. 6.
                                                        - 12 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 13 of 38 PageID 738




 irreparable injury.”) (citations omitted); Farmer v. Bd. of Regents of the Univ. Sys. of Georgia, No.

 1:10-CV-02148-ODE-GGB, 2012 WL 12868428, at *7 (N.D. Ga. May 29, 2012) (finding that

 denial of football scholarships established an injury-in-fact), report and recommendation adopted

 in part, rejected in part, No. 1:10-CV-2148-ODE, 2012 WL 12871490 (N.D. Ga. Sept. 17, 2012),

 aff’d, 589 F. App’x 913 (11th Cir. 2014).

        The crux of the UCF Defendants’ argument revolves around Plaintiff not facing an

 imminent risk that UCF will again enforce the NCAA rules against him because he is no longer a

 student and no longer on the football team. This argument is well-founded and supported by

 Eleventh Circuit and Supreme Court case law. Cases have often turned on whether the plaintiff

 would be subject to the same injury again. See, e.g., Lyons, 461 U.S. at 105 (determining if plaintiff

 had standing for injunctive relief based on the likelihood of police officers again placing him in a

 chokehold); Washington v. Vogel, 156 F.R.D. 676, 680 (M.D. Fla. 1994) (“To have standing to

 seek injunctive relief, Washington must initially demonstrate that she faces a real and immediate

 threat of again being stopped on I–95 by a VCSO officer.”). However, the Court finds an

 alternative ground to find standing for declaratory and injunctive relief. In this case, Plaintiff is

 suffering “continuing, present adverse effects” as a result of UCF’s alleged violation of his

 constitutional rights because he is now denied and will continue to be denied his athletic

 scholarship and his place on UCF’s football team. (Doc. 1 ¶ 47.) As a result, Plaintiff alleges that

 he cannot continue his education at UCF. (Doc. 1 ¶ 47.); see, e.g., Lyons, 461 U.S. at 102 (“[P]ast

 exposure to illegal conduct does not in itself show a present case or controversy regarding

 injunctive relief . . . if unaccompanied by any continuing, present adverse effects.”) (quoting

 O’Shea, 414 U.S. at 495–96); Duty Free Americas, Inc. v. Estee Lauder Companies, Inc., 797 F.3d

 1248, 1272 (11th Cir. 2015) (“Absent facts suggesting that former exposure to Estée Lauder’s

 requirements caused ‘continuing, present adverse effects’ on DFA, Estée Lauder’s past conduct


                                                 - 13 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 14 of 38 PageID 739




 cannot be the basis of a request for injunctive relief.”) (citations omitted); Walden v. Centers for

 Disease Control & Prevention, 669 F.3d 1277, 1284 (11th Cir. 2012) (holding that plaintiff lacked

 standing for declaratory relief against her employer because she only sought relief for a past injury,

 and “[s]he did not allege that her religious rights continue to be burdened or are likely to be

 burdened in the future”); Emory v. Peeler, 756 F.2d 1547, 1552 (11th Cir. 1985) (finding that

 plaintiff lacked standing for a declaratory judgment because he had been injured by judge’s past

 conduct but made no allegation that the judge’s conduct continued or would be repeated in the

 future.); see also Soc’y of Separationists, Inc. v. Herman, 959 F.2d 1283, 1285 (5th Cir. 1992)

 (“To obtain equitable relief for past wrongs, a plaintiff must demonstrate either continuing harm

 or a real and immediate threat of repeated injury in the future.”); VanBrocklen v. Gov’t Employees

 Ins. Co., No. 08-CV-25412211-1715, 2009 WL 414053, at *3 (N.D.N.Y. Feb. 18, 2009) (finding

 that former insured had standing to seek injunctive relief against GEICO, despite the lack of

 allegations in the complaint that former insured would face any future discrimination by GEICO,

 because the complaint indicated that GEICO cancelling his policy had the ongoing adverse affect

 that he would no longer receive disability benefits and psychological treatment).

        In Bowers v. National Collegiate Athletic Association, 118 F. Supp. 2d 494 (D.N.J. 2000),

 a former high school football player challenged the NCAA’s regulations that prohibited first-year

 college students from participating in Division I and Division II athletic programs if they failed as

 high school students to complete a core academic curriculum specified by the NCAA. Id. at 499.

 The NCAA required high school students to complete thirteen “core courses” before they could

 qualify to practice and compete as members of intercollegiate teams and receive college athletic

 scholarships. Id. Bowers suffered from a learning disability and thus completed numerous special

 education courses in high school. Id. The NCAA determined that these courses did not satisfy the

 “core course” requirement and deemed Bowers ineligible to compete as a member of an


                                                 - 14 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 15 of 38 PageID 740




 intercollegiate team and receive a college athletic scholarship. Id. Bowers alleged that the NCAA

 discriminated against him because of his disability by declaring him ineligible to participate in

 intercollegiate athletics as a college freshman. Id. Among other things, Bowers sought injunctive

 relief against the NCAA and other defendants. Id. at 500. In analyzing standing, the court found

 that the parties had focused on the question of whether Bowers was likely to be subject to the

 NCAA’s initial eligibility requirements in the future, when there was a more obvious basis for

 standing to seek injunctive relief: Bowers was suffering from continuous, present adverse affects

 because he lost a year of eligibility as a college freshman. Id. at 502. (citations omitted).6

          The UCF Defendants argue that Plaintiff lacked standing as a former student to challenge

 UCF’s policies. (Doc. 43 at 16.) The UCF Defendants present this as a bright-line rule. However,

 the cases on which the UCF Defendants rely do not discuss standing, but discuss mootness.

 Pasadena City Bd. of Educ. v. Spangler, 427 U.S. 424, 430 (1976) (finding that the appeal in a

 school desegregation case was moot as to students who had graduated and their parents); Bd. of

 Sch. Comm’rs of City of Indianapolis v. Jacobs, 420 U.S. 128, 129, 95 S. Ct. 848, 850, 43 L. Ed.

 2d 74 (1975) (holding that former students’ claim for declaratory judgment and permanent

 injunction against a school board was moot because the students had graduated); Carver Middle

 Sch. Gay-Straight All. v. Sch. Bd. of Lake Cty., Fla., 842 F.3d 1324, 1330 (11th Cir. 2016) (ruling

 that former student’s claims for injunctive and declaratory relief against his former middle school

 were moot because he was no longer a student at the school, since he was apparently promoted to

 high school)7; Adler v. Duval Cty. Sch. Bd., 112 F.3d 1475, 1477 (11th Cir. 1997) (holding that

 four former high school students’ claims for declaratory and injunctive relief against their school


          6
            On a motion for reconsideration, the court vacated this decision because it overlooked a fact that showed
 that Bowers was not actually suffering continuing, present adverse effects. Bowers v. Nat’l Collegiate Athletic Ass’n,
 130 F. Supp. 2d 610, 614 (D.N.J. 2001). However, the court’s reasoning still stands. VanBrocklen, 2009 WL
 414053, at *3 n.3 (relying on Bowers).
          7
            The case does not state this directly but states “H.F. has completed the equivalent of graduating from
 Carver.” Carver Middle School, 842 F.3d at 1330.
                                                        - 15 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 16 of 38 PageID 741




 board’s policy allowing prayer at high school graduation ceremonies were moot since they had

 graduated and no longer needed protection from the policy). While these cases decide mootness

 issues and not standing issues, they are still helpful. The Supreme Court has often remarked that

 “the doctrine of mootness can be described as the doctrine of standing set in a time frame: The

 requisite personal interest that must exist at the commencement of the litigation (standing) must

 continue throughout its existence (mootness).” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.

 (TOC), Inc., 528 U.S. 167, 189, 120 S. Ct. 693, 708, 145 L. Ed. 2d 610 (2000) (citation and internal

 quotation marks omitted).8 The recurring theme in these cases is that the claims of former students

 seeking declaratory and injunctive relief were moot because they had graduated (or done the

 equivalent) and thus an injunction or declaratory relief was not necessary to protect them from

 future injury. See Cole v. Oroville Union High Sch. Dist., 228 F.3d 1092, 1098 (9th Cir. 2000) (“It

 is well-settled that once a student graduates, he no longer has a live case or controversy justifying

 declaratory and injunctive relief against a school’s action or policy.”) (citation omitted). However,

 in this case, Plaintiff has not graduated and is suffering the continuing, adverse affects of UCF’s

 decision to deem him ineligible for football and cancel his scholarship. Plaintiff has submitted a

 declaration stating that he plans to return to UCF when his scholarship eligibility is restored. The

 UCF Defendants point out that since Plaintiff has not been enrolled for two semesters, he must

 apply for readmission and then be formally readmitted by UCF. However, there is no indication

 that Plaintiff has any academic or disciplinary issues that would preclude his readmission to UCF.

         In cases directly addressing the issue of former students’ standing to sue their former

 institutions for injunctive and declaratory relief, courts have looked at the underlying facts of the

 case to determine standing. A plaintiff’s status as a former student was not an automatic bar to



         8
           “But mootness and standing are distinct doctrines that must not be confused. The difference between the
 two is that [mootness] has a ‘capable of repetition, yet evading review’ exception.” Sheely v. MRI Radiology
 Network, P.A., 505 F.3d 1173, 1189 n.16 (11th Cir. 2007) (citations omitted).
                                                       - 16 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 17 of 38 PageID 742




 standing. For example, in B.C. v. Plumas , 192 F.3d 1260 (9th Cir. 1999), the court found that a

 former student lacked standing to seek injunctive relief on his §1983 claim alleging that the dog

 sniff of students at a public high school violated the Fourth Amendment, since plaintiff was no

 longer a student at the high school or at any other school in the defendant school district, he had

 not been a student at high school since time of the incident, and he had no plans to return to school

 anywhere in the district. Compare Campbell v. Lamar Inst. of Tech., 842 F.3d 375, 382–383 (5th

 Cir. 2016) (finding that former student lacked standing for injunctive relief based on school’s

 disability accommodations because he withdrew from school and repeatedly stated that he would

 not return), and Williams v. Bd. of Regents of Univ. Sys. of Georgia, 477 F.3d 1282, 1302 (11th

 Cir. 2007) (holding that former student who was allegedly sexually assaulted by other students did

 not have standing to pursue injunctive relief against her former school because the alleged

 assailants no longer attended the school, the plaintiff no longer attended the school, and therefore

 injunctive relief would not prevent future harm to plaintiff), with Qualls v. N.I.U., No. 02 C 50081,

 2003 WL 1949301, at *1 (N.D. Ill. Apr. 23, 2003) (holding that former student had standing to

 seek injunction against his former school because he was dismissed before he graduated and was

 seeking readmission); Mercado v. Kingsley Area Sch./Traverse City Pub. Sch. Adult Educ.

 Consortium, 727 F. Supp. 335, 340 (W.D. Mich. 1989) (rejecting defendants’ argument that

 plaintiff lacked standing as a former student to seek injunctive relief “because an order preventing

 the future diversion of funds would allow the adult education program to offer the classes she

 need[ed] to attain a high school diploma”); Anable v. Ford, 663 F. Supp. 149, 152 (W.D. Ark.

 1985) (“As victims of an unconstitutional search, both former students clearly have standing to

 argue the legality of the searches in an action for declaratory . . . relief.”). In this case, Plaintiff’s

 plan is to return to UCF if the Court grants an injunction restoring his scholarship eligibility, and

 his lack of his athletic scholarship is preventing him from attending UCF. These factors weigh in


                                                   - 17 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 18 of 38 PageID 743




 favor of him having standing at this stage. Further, cases that held former students lacked standing

 to seek injunctive relief against their former schools generally focused on the former student not

 being likely to suffer the same injury again. See, e.g., B.C., 192 F.3d at 1264 (“To have standing

 to seek injunctive relief, B.C. must demonstrate a real or immediate threat that defendants will

 again subject him to an illegal dog sniff of his person.”) (citations omitted). As discussed supra,

 this is one way to establish standing for injunctive and declaratory relief. A plaintiff alleging

 continuous, present adverse affects from past conduct is an alternative avenue to establish standing.

 Therefore, the Court finds that Plaintiff has satisfied the injury-in-fact requirement.

        2. Causation/Traceability

        To establish causation, “a plaintiff must allege personal injury fairly traceable to the

 defendant’s allegedly unlawful conduct. . . .” Allen v. Wright, 468 U.S. 737, 751, 104 S. Ct. 3315,

 3324, 82 L. Ed. 2d 556 (1984), overruled on other grounds by Lexmark Int’l, Inc. v. Static Control

 Components, Inc., 134 S. Ct. 1377, 188 L. Ed. 2d 392 (2014). Plaintiff satisfies the causation

 element because Plaintiff’s alleged violations of his First Amendment and substantive due process

 rights were caused by UCF removing him from the football team and cancelling his scholarship.

 Plaintiff alleges that the UCF Defendants either (1) engage in the “general administration of all

 university activities”; (2) “implement[] or enforce[] the unconstitutional policies, practices, or

 customs of UCF described herein”; or (3) “ha[ve] authority for policies related to students,

 enrollment of students, student records, student activities, financial assistance, and other student

 services.” (Doc. 1 ¶¶ 2–6.) The UCF Defendants do not dispute these allegations nor contest this

 element. The Court finds that Plaintiff has satisfied the causation element.

        3. Redressability

        The UCF Defendants argue that Plaintiff lacks standing because a favorable judgment

 cannot redress his alleged injuries. (Doc. 43 at 18.) The UCF Defendants assert that they are not


                                                 - 18 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 19 of 38 PageID 744




 authorized to award Plaintiff the scholarship funds he seeks because he is no longer a UCF student.

 (Id.) The UCF Defendants point out that the NCAA bylaws prevent them from awarding Plaintiff

 an athletic scholarship. (Id.) They emphasize that under the NCAA bylaws, institutions such as

 UCF may not award athletic scholarships to recipients who are not enrolled in at least a minimum

 full-time program of studies, are not in good academic standing, or have not maintained progress

 toward a baccalaureate or equivalent degree. (Id.at 19.)The UCF Defendants assert that the

 Complaint’s allegations make clear that Plaintiff does not meet these criteria, and even if Plaintiff’s

 requested injunction were granted, they could not provide that relief until Plaintiff applies for

 readmission, is readmitted, is accepted back onto the football team, and satisfies all other criteria

 for a scholarship award, which Plaintiff expresses no intent or desire to do so. (Id. at 19–20.) The

 UCF Defendants also argue that UCF cannot award scholarship funds for the 2017–2018 academic

 year, the only scholarship funds in which Plaintiff asserts a plausible interest, because the deadline

 to enroll in classes has passed and Plaintiff did not enroll in any classes for the Spring 2018

 semester. (Id. at 21.)

         In response, Plaintiff points to an internal email between UCF officials, showing that UCF

 had a choice to allow him to retain his scholarship for the 2017–2018 academic year despite his

 removal from the football team, and the UCF Athletics Department chose to cancel the aid. (Doc.

 47 at 6–7.) Plaintiff also rejects the UCF Defendants’ reliance on the NCAA bylaws because

 Plaintiff asserts that those rules have no bearing on the constitutional question of whether UCF

 may deny a scholarship benefit simply because UCF disagrees with the content of a student’s off-

 campus speech. (Id. at 7.) Plaintiff also responds that even though the 2017–2018 school term is

 nearly completed, the passage of this school year is immaterial because a new school year is always

 just around the corner. (Id.) Plaintiff asserts that this Court reinstating his scholarship eligibility

 would redress his injuries by allowing him to return to school for the 2018–2019 academic year.


                                                 - 19 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 20 of 38 PageID 745




 (Id.) Plaintiff also points out that he is seeking a declaratory judgment and this claim would survive

 even if he lost on the injunction claim. (Id.)

            To establish redressability, a plaintiff must show that it is “ ‘likely,’ as opposed to merely

 ‘speculative,’ that the injury will be ‘redressed by a favorable decision.’”Lujan v. Defs. of Wildlife,

 504 U.S. 555, 561, 112 S. Ct. 2130, 2136, 119 L. Ed. 2d 351 (1992) (quotation omitted). Clearly

 if the Court granted the injunctive and declaratory relief requested by Plaintiff in this case, his

 injuries would be redressed. His scholarship eligibility would be restored and he would have the

 financial means to continue his education at UCF. The UCF Defendants’ main argument is that

 none of the officials have the authority to confer an athletic scholarship on an individual who is

 not a UCF student, let alone a student-athlete, relying on NCAA Bylaws 14.01.29 and 15.01.5.10

 While these Bylaws do support this contention, under the Former Student-Athletes exception,

 NCAA Bylaw 15.01.5.2, “Institutional financial aid may be awarded to a former student-athlete

 for any term during which he or she is enrolled (full time or part time).” (Doc. 43-3 at 208.)

 Although Plaintiff is not currently a UCF student, as discussed supra, he has clearly stated he will

 seek readmission to UCF upon the Court restoring his scholarship eligibility. Like any other

 scholarship, Plaintiff’s scholarship would be conditional on his attending UCF. Universities and

 colleges confer scholarships to non-students, such as high school applicants, contingent on their

 attending that particular college or university. Moreover, as revealed by the internal e-mails

 between UCF employees provided by Plaintiff with his Response, although Plaintiff was deemed

 to be ineligible to be on the UCF football team, UCF had the choice to let him retain his 2017–

 2018 scholarship. (Doc. 47-1 at 13) (“The awarding agency has a choice to allow the SA to keep



         9
           Under NCAA Bylaw 14.01.2: “To be eligible to represent an institution in intercollegiate athletics
 competition, a student-athlete shall be enrolled in at least a minimum full-time program of studies, be in good
 academic standing and maintain progress toward a baccalaureate or equivalent degree.” (Doc. 43-3 at 170.)
         10
            Under NCAA Bylaw 15.01.5: “A student-athlete must meet applicable NCAA (see Bylaw 14),
 conference and institutional regulations to be eligible for institutional financial aid.” (Id. at 208.)
                                                         - 20 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 21 of 38 PageID 746




 his aid for the 2017–2018 year. Understandably so, [UCF] Athletics chose to cancel the aid because

 he (SA) rendered himself ineligible by not following NCAA rules.”). The UCF Defendants argue

 that, even if Plaintiff’s requested injunction were granted, they could not provide that relief – at

 least not before Plaintiff applies for readmission, is readmitted, is accepted back onto the football

 team, and satisfies all other criteria for a scholarship award, which Plaintiff has allegedly expressed

 no intent or desire to do. (Doc. 43 at 20.) However, Plaintiff is seeking readmission to UCF upon

 the Court re-instating his scholarship eligibility and his receipt of the scholarship being contingent

 on his actually becoming a UCF student. As discussed supra, there have been no allegations of

 academic or disciplinary issues precluding Plaintiff’s readmission into UCF. Moreover, as

 evidenced by the e-mails between the UCF officials as well as the Former Student-Athlete

 Exception, Plaintiff does not need to be on the football team to be awarded an athletic scholarship.

        The UCF Defendants next argue that UCF cannot award scholarship funds for the 2017–

 2018 academic year, the only year in which Plaintiff allegedly asserts a plausible interest in a

 scholarship, because it is essentially the end of the academic year, and well after the deadline to

 enroll in classes. (Doc. 43 at 20–21.) However, as Plaintiff persuasively points out, the passage of

 this school year is immaterial as there is always a new school year approaching. (Doc. 47 at 7.)

 Therefore, the Court finds that Plaintiff satisfies the redressability element. Thus, the Court finds

 that Plaintiff satisfies all the elements for standing to seek injunctive and declaratory relief. The

 Court turns to the issue of whether Plaintiff’s claims are barred by the Eleventh Amendment.


 B. Eleventh Amendment

        The Eleventh Amendment states: “[t]he Judicial power of the United States shall not be

 construed to extend to any suit in law or equity, commenced or prosecuted against one of the

 United States by Citizens of another State, or by Citizens or Subjects of any Foreign State.” U.S.

 CONST. amend. XI. It has been interpreted to bar suits brought against a State in federal court by

                                                 - 21 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 22 of 38 PageID 747




 her own citizens, as well as those of another State. See Edelman v. Jordan, 415 U.S. 651, 662–63,

 94 S.Ct. 1347, 1355, 39 L.Ed.2d 662 (1974) (citations omitted); Hans v. Louisiana, 134 U.S. 1,

 13–15, 10 S.Ct. 504, 33 L.Ed. 842 (1890). The Eleventh Amendment generally bars any suit

 brought in federal court against a state, state agency, or state officials acting in their official

 capacities. See Seminole Tribe v. Florida, 517 U.S. 44, 74, 116 S.Ct. 1114, 1132, 134 L.Ed.2d 252

 (1996). But three exceptions allow suits against a state, state agency, or state officials: (1) Congress

 may abrogate the States’ immunity; (2) a state may waive its immunity; or (3) under the Ex parte

 Young doctrine, a plaintiff may file suit against state officials acting in their official capacities

 seeking prospective injunctive relief for ongoing violations of federal law. Williams v. Bd. of

 Regents of Univ. Sys. of Georgia, 477 F.3d 1282, 1301 (11th Cir. 2007) (“[A] party may sue the

 state if the state has waived its immunity or if Congress has validly abrogated the state’s

 immunity.”) (citations omitted); Summit Med. Assocs., P.C. v. Pryor, 180 F.3d 1326, 1336–42

 (11th Cir. 1999) (applying the Ex parte Young doctrine).

         In this case, the Ex parte Young exception is at issue. “In determining whether the doctrine

 of Ex parte Young avoids an Eleventh Amendment bar to suit, a court need only conduct a

 ‘straightforward inquiry into whether [the] complaint alleges an ongoing violation of federal law

 and seeks relief properly characterized as prospective.’” Verizon Maryland, Inc. v. Pub. Serv.

 Comm’n of Md., 535 U.S. 635, 645, 122 S.Ct. 1753, 152 L.Ed.2d 871 (2002) (quoting Idaho v.

 Coeur d’Alene Tribe of Idaho, 521 U.S. 261, 296, 298–299, 117 S.Ct. 2028, 138 L.Ed.2d 438

 (1997)). “[T]he inquiry into whether suit lies under Ex parte Young does not include an analysis

 of the merits of the claim.” Id. at 646. In this case, Plaintiff alleges an ongoing violation of federal

 law in his Complaint by stating:

         As a direct result of the Defendants’ continued violation of De La Haye’s
         constitutional rights, he is now being and will continue to be denied his athletic
         scholarship and his place on UCF’s football team. He has also lost his ability to


                                                  - 22 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 23 of 38 PageID 748




        receive his education from UCF under the athletic scholarship he earned through
        his athletic talents.

 (Doc. 1 ¶ 47.) The real issue in this case is whether Plaintiff’s requested relief is prospective or

 retroactive. The Court finds that the relief he seeks is prospective and the Eleventh Amendment

 does not bar Plaintiff’s claims.

        The crux of the UCF Defendants’ argument is that Plaintiff’s injunction requiring the

 reinstatement of his scholarship eligibility, which necessarily includes the payment of $21,488.00

 per year for Plaintiff’s school expenses, is the kind of relief that the Supreme Court and Eleventh

 Circuit have rejected under the Eleventh Amendment. (Doc. 43 at 7.) The UCF Defendants argue

 that Plaintiff is seeking payment of state scholarship funds to reverse the consequences of allegedly

 unlawful conduct which occurred in the past. (Id. at 5.) They argue in Edelman, the Supreme Court

 held that the Ex parte Young exception to Eleventh Amendment immunity does not apply when

 the practical effect of the requested relief is the payment of funds from the state treasury to remedy

 the past breach of a legal duty. (Id. at 5–6.) They assert that the Eleventh Circuit has applied

 Edelman to require dismissal of suits for equitable relief that sought disbursement from the state

 treasury of funds that the plaintiff claims were wrongly withheld. (Id. at 6.) (citing Seminole Tribe

 of Fla. v. Fla. Dep’t of Revenue, 750 F.3d 1238, 1251, 1244–46 (11th Cir. 2014); Fla. Ass’n of

 Rehab. Facilities, Inc. v. State of Fla. Dep’t of Health & Rehab. Servs., 225 F.3d 1208, 1219–20

 (11th Cir. 2000)); Camm v. Scott, 834 F. Supp. 2d 1342, 1349–50 (M.D. Fla. 2011)). The UCF

 Defendants point out that Plaintiff is not seeking an injunction to readmit him to UCF or reinstate

 him to the football team. (Doc. 43 at 7.) However, since UCF did not expel him and there does not

 appear to be any obstacle to his readmission, it is unclear why Plaintiff would need an injunction

 requiring his readmission. The UCF Defendants also assert that Plaintiff does not allege that UCF

 continues to violate his rights today. (Id.) However, this is incorrect. As discussed supra, Plaintiff

 alleges that UCF continues to violate his rights.

                                                 - 23 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 24 of 38 PageID 749




        In response, Plaintiff argues that his requested relief meets the Ex parte Young exception.

 (Doc. 47 at 7.) Plaintiff contends that he is requesting an injunction requiring UCF to discontinue

 its finding that he is ineligible for his scholarship because he exercised his right to free expression

 under the First Amendment, as well as a declaration that UCF’s actions were an impermissible

 regulation of speech. (Id. at 9.) Plaintiff argues that the reinstatement of his scholarship eligibility

 is merely a necessary consequence of that cessation. (Id.) Plaintiff asserts that the Complaint seeks

 injunctive and declaratory relief relating to UCF’s eligibility determination rather than any sort of

 equitable restitution of funds wrongly withheld in the past. (Id.) Plaintiff argues that the Eleventh

 Amendment does not preclude injunctive relief against a state official even where compliance with

 the injunction will cost the state money in the future. (Id.) (citing Florida Dep’t of State v. Treasure

 Salvors, Inc., 458 U.S. 670, 690 n.27 (1982); Milliken v. Bradley, 433 U.S. 267, 289 (1977)).

 Therefore, Plaintiff asserts that even if Plaintiff’s claims against officials of UCF require payment

 of state funds, they are valid under Ex parte Young because they seek reinstatement of Plaintiff’s

 scholarship eligibility in the future. (Doc. 47 at 10.) Plaintiff compares this situation to the

 expenditure of funds resulting from the reinstatement of employees wrongfully terminated from

 public employment, which involves the state paying a salary and benefits to a reinstated employee.

 (Id.) Plaintiff relies on Lane v. Central Alabama Community College, 772 F.3d 1349, 1350 (11th

 Cir. 2014), in which the Eleventh Circuit found that the plaintiff’s reinstatement to his position at

 a community college was acceptable prospective relief under Ex parte Young that was not barred

 by the Eleventh Amendment despite the reinstatement causing the State to prospectively pay the

 Plaintiff’s salary. (Doc. 47 at 10.) Plaintiff distinguishes his case from Florida Association of

 Rehabilitation Facilities, Inc. v. State of Florida Department of Health & Rehabilitative Services.,

 225 F.3d 1208 (11th Cir. 2000), a case heavily relied on by the UCF Defendants, because he is not

 seeking any damages or equitable restitution for scholarship money owed in the past but he instead


                                                  - 24 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 25 of 38 PageID 750




 seeks an order that his eligibility be reinstated on an ongoing basis, for future years of eligibility.

 (Doc. 47 at 11.) Plaintiff refutes the UCF Defendants’ argument that the relief sought exceeds what

 is allowed under Ex parte Young because it seeks to remedy a discrete past injury. (Id.) Plaintiff

 argues that the fact that an injunction also remedies a past harm does not “render[] an otherwise

 forward-looking injunction retroactive. If it did, the rule allowing prospective relief would be

 substantially undermined because the need for prospective relief often arises out of a past injury.”

 (Doc. 47 at 11.) (quoting Russell v. Dunston, 896 F.2d 664, 668 (2d Cir. 1990)). As Plaintiff points

 out, other courts have upheld claims for reinstatement to educational institutions including for the

 denial of scholarships under Ex parte Young. (Id.) Plaintiff argues that he is not precluded from

 seeking prospective and declaratory relief simply because he is not presently enrolled at UCF,

 since the only reason he is not enrolled is because UCF unconstitutionally revoked his scholarship.

 (Id.) He asserts that he will re-enroll at UCF once he is deemed eligible for his scholarship. (Id.)

 Plaintiff asserts that courts have consistently permitted plaintiffs not presently attending

 educational institutions to seek prospective relief against officials of those institutions. (Id.) (citing

 Flint v. Dennison, 488 F.3d 816, 823-24 (9th Cir. 2007); Shepard v. Irving, 77 F. App’x 615, 617,

 620 (4th Cir. 2003); Carten v. Kent State Univ., 282 F.3d 391, 393 (6th Cir. 2002)). Plaintiff argues

 that the ongoing injury in this case is plain: the continued denial of his scholarship eligibility

 prevents Plaintiff from pursuing a college education that UCF promised him. (Doc. 47 at 12.) As

 a result, Plaintiff argues, prospective injunctive relief and a declaratory judgment that UCF acted

 unconstitutionally in this case are appropriate. (Id. at 13.) Plaintiff argues that the UCF Defendants’

 arguments against the claim for declaratory relief, based on the same arguments they made

 regarding injunctive relief, similarly collapse. (Id.)

         The UCF Defendants first attack Plaintiff’s request for an injunction requiring the

 reinstatement of his scholarship eligibility. Relying on Florida Association, the UCF Defendants


                                                   - 25 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 26 of 38 PageID 751




 argue that this claim does not fall within the Ex parte Young exception because Plaintiff “seeks a

 declaration or injunction effectively call[ing] for the payment of state funds as a form of

 compensation for past breaches of legal duties by state officials.” 11 See Fla. Ass’n of Rehab.

 Facilities, Inc. v. State of Fla. Dep’t of Health & Rehab. Servs., 225 F.3d 1208, 1221 (11th Cir.

 2000) (citations omitted). In Florida Association, operators of intermediate care facilities for

 developmentally disabled brought a § 1983 action against the Florida Department of Health and

 Rehabilitation Services and state officials, seeking injunctive and declaratory relief for alleged

 violations of the Medicaid Act’s reimbursement provisions. Fla. Ass’n of Rehab. Facilities, Inc.,

 225 F.3d at 1210. The plaintiffs alleged that the defendants were not adequately reimbursing them

 under the Boren Amendment of the Medicare program. Id. at 1212. The district court ruled in the

 plaintiffs’ favor but the Eleventh Circuit vacated sections of the district court’s injunction under

 the Eleventh Amendment. Id. at 1226. The Eleventh Circuit determined that in essence the district

 court ordered the defendants to rectify improper past payments to the plaintiffs. Id. at 1220. The

 Court stated that “[b]ecause some of the relief ordered in the final judgment requires the State in

 effect to rectify improper past payments, we see no way to distinguish the holding of Edelman

 which prohibits exactly this sort of retroactive award.” Id. The UCF Defendants rely on this quote

 from the case: “the Eleventh Amendment’s immunity is triggered when a declaration or injunction

 effectively calls for the payment of state funds as a form of compensation for past breaches of legal

 duties by state officials.” Id. The facts of this case are distinguishable from Florida Association


          11
            The UCF Defendants also state that “[Plaintiff] is not entitled to such relief because Ex parte
 Young does not shield a ‘final judgment requiring a state to pay money for illegal conduct which pre-
 dates the judgment.’” (Doc. 43 at 8) (quoting Fla. Ass’n of Rehabilition Facilities, 225 F.3d at 1222)
 (emphasis in original). However, the UCF Defendants omit key language from this quote. The full quote
 is “First, we are aware of no federal court that has upheld against Eleventh Amendment scrutiny a final
 judgment requiring a state to pay money for illegal conduct which pre-dates the judgment on the theory
 that the conduct violated an earlier preliminary injunction and therefore the remedy was prospective.”
 Fla. Ass’n of Rehabilition Facilities, 225 F.3d at 1222 (emphasis added). Taken out of context, the UCF
 Defendants’ quote is misleading, and it does not apply here because there is no earlier preliminary injunction
 involved in this case.
                                                         - 26 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 27 of 38 PageID 752




 because Florida Association involved the payment of state funds to redress prior inadequate

 reimbursements. 12 In the present case, Plaintiff is not seeking reimbursement. In addition,

 Plaintiff’s requested injunction does not call for the payment of state funds as a form of

 compensation for past breaches of legal duties by state officials. Plaintiff is merely seeking an

 order that his scholarship eligibility be reinstated on an ongoing basis for future years of eligibility,

 not damages or equitable restitution for scholarship money owed in the past. Moreover, courts

 have found similar requests to fall within the Ex parte Young exception. For example, in Osteen v.

 Board of Regents of Regency Universities, No. 91 CV 20247, 1992 WL 74995, at *1 (N.D. Ill.

 Apr. 8, 1992), aff’d sub nom. Osteen v. Henley, 13 F.3d 221 (7th Cir. 1993), a former student-

 athlete sought injunctive relief against university officials requiring his reinstatement as a student

 with or without the restoration of his football scholarship after he was expelled from the university

 for two years and his athletic scholarship was revoked. Osteen v. Henley, 13 F.3d at 223. The

 Seventh Circuit affirmed the district court’s determination that the former student-athlete’s request

 for reinstatement of his scholarship was prospective relief not barred by the Eleventh Amendment

 because he was not seeking retroactive payments of “scholarship funds which were not given to

 plaintiff as a result of his expulsion. Rather, it only appear[ed] that plaintiff’s claim for injunctive

 relief is seeking reinstatement to NIU and that upon reinstatement he receive his scholarship.”

 Osteen, 1992 WL 74995, at *2, aff’d sub nom. Osteen v. Henley, 13 F.3d 221 (7th Cir. 1993); see

 Derezic v. Ohio Dep’t of Educ., No. 2:14-CV-51, 2014 WL 4206580, at *8 (S.D. Ohio Aug. 25,

 2014) (finding that plaintiffs’ request to have their children’s scholarships reinstated “qualifie[d]

 as prospective equitable relief and [fell] within the boundaries of the Ex parte Young exception”).



          12
           Similarly in the other cases that Plaintiff relies: Seminole Tribe of Florida v. Florida Department of
 Revenue, 750 F.3d 1238 (11th Cir. 2014) and Camm v. Scott, 834 F. Supp. 2d 1342 (M.D. Fla. 2011), the courts
 struck down declaratory and injunctive relief that essentially called for reimbursements from the state treasury based
 on past unlawful acts. In this case, Plaintiff is not seeking a reimbursement from the state treasury.

                                                         - 27 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 28 of 38 PageID 753




 Further, in the employment context, the Eleventh Circuit has “determined previously that requests

 for reinstatement constitute prospective injunctive relief that fall within the scope of the Ex parte

 Young exception and, thus, are not barred by the Eleventh Amendment.” Lane, 772 F.3d at 1351.

 These cases are indistinguishable from Plaintiff’s, who seeks reinstated scholarship eligibility,

 which is prospective relief. See Derezic, 2014 WL 4206580, at *8 (relying on reinstatement

 employment cases to find that plaintiffs’ request to reinstate their children’s scholarships was

 prospective relief under Ex parte Young).

        The UCF Defendants rely on two cases that reached an opposite result but are

 distinguishable: Graham v. National Collegiate Athletic Association, 804 F.2d 953 (6th Cir. 1986)

 and Brown v. Texas State University System Board of Regents, No. A-13-CA-483-SS, 2013 WL

 6532025 (W.D. Tex. Dec. 12, 2013). In Graham, the Sixth Circuit found that a former-student

 athlete’s request for damages from state officials in their official capacities, to reimburse him for

 paying his own tuition after the University of Louisville revoked his scholarship, was barred by

 the Eleventh Amendment. Graham, 804 F.2d at 960–61. This case involved a request for

 compensatory damages, which is clearly not allowed under the Eleventh Amendment. In contrast,

 Plaintiff is not seeking any past out-of-pocket tuition costs as a result of UCF cancelling his

 scholarship. In Brown, a former student-athlete challenged his university’s decision to remove him

 from the basketball team and terminate his athletic scholarship. Brown, 2013 WL 6532025, at *1.

 The former student-athlete sought “various forms of relief including: (1) damages—liquidated,

 compensatory, and punitive; (2) an order reinstating Brown on the TSU basketball team; and (3)

 an order reinstating Brown’s athletic scholarship” against various university officials in their

 individual and official capacities. Id. The court determined that the former student-athlete’s claims

 were barred by the Eleventh Amendment because he sought retroactive relief—“damages to

 compensate past injuries” — which would be paid from the state treasury. Id. at *3. (citation


                                                - 28 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 29 of 38 PageID 754




 omitted). Plaintiff’s request for injunctive relief is distinguishable because he is not requesting

 liquidated, compensatory, and punitive damages.13

          The UCF Defendants also assert that reinstating Plaintiff’s scholarship eligibility will

 include the payment of $21,488.00 per year for his school-related expenses from state funds.

 However, the Eleventh Circuit’s per curiam opinion in Lane v. Central Alabama Community

 College, 772 F.3d 1349 (11th Cir. 2014), is on point. In Lane, a former employee at a community

 college sought an injunction requiring the reinstatement of his employment against the community

 college and its officials in their individual and official capacities. Id. The panel reiterated the

 Eleventh Circuit’s previous determination that requests for reinstatement constitute prospective

 injunctive relief which falls within the Ex parte Young exception and is not barred by the Eleventh

 Amendment. Id. at 1351 (citations omitted). The Court stated that, “Lane’s reinstatement would

 require the State to pay Lane’s salary does not trigger Eleventh Amendment protection. The

 Supreme Court has recognized that compliance with the terms of prospective injunctive relief will

 often necessitate the expenditure of state funds. And ‘[s]uch an ancillary effect on the state treasury

 is a permissible and often an inevitable consequence of the principle announced in Ex parte

 Young.’” Id. (quoting Edelman, 415 U.S. at 668). Consistent with Lane, the reinstatement of

 Plaintiff’s scholarship eligibility is not properly characterized as a demand for damages to

 compensate for a past injury, but as an equitable remedy, and UCF allowing Plaintiff to receive

 scholarship funds—solely in the future—by requiring UCF to find him eligible on an ongoing

 basis is not barred by the Eleventh Amendment. The mere fact that Plaintiff may receive future

 scholarship funds from the state treasury as a result of his eligibility reinstatement does not

 preclude this remedy. As Plaintiff correctly points out, the Eleventh Amendment does not preclude




          13
            The Court disagrees with Brown in regards to the reinstatement of the plaintiff on the basketball team and
 his scholarship. The court provided no independent analysis for these claims to justify its ruling.
                                                        - 29 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 30 of 38 PageID 755




 injunctive relief against a state official even where compliance with the injunction will cost the

 state money in the future. Kentucky v. Graham, 473 U.S. 159, 169, 105 S. Ct. 3099, 3107 n.18

 (1985) (“Monetary relief that is ‘ancillary’ to injunctive relief also is not barred by the Eleventh

 Amendment.”) (citation omitted); Florida Dep’t of State v. Treasure Salvors, Inc., 458 U.S. 670,

 690 n.27 (1982) (“a prospective decree that has an ‘ancillary effect’ on the state treasury is a

 permissible and often an inevitable consequence of the principle announced in Ex parte Young.”)

 (citations and internal quotations omitted). The UCF Defendants also attack this form of relief

 because it was based on a past breach by state officials. However, employment reinstatement cases

 are often based on past breaches like the one in Lane, which was an alleged retaliation in violation

 of the First Amendment, but this has not prevented the Eleventh Circuit from finding that

 reinstatement in these cases was prospective relief. See Cross v. State of Ala., State Dep’t of Mental

 Health & Mental Retardation, 49 F.3d 1490 (11th Cir. 1995) (finding injunction requiring

 reinstatement to state employment based on state official’s past sexual harassment of female

 employees qualified as prospective relief). Moreover, the reinstatement in these cases would

 require payment of these employees’ wages (prospectively) from state funds.

        The UCF Defendants contend that, since Plaintiff is no longer a UCF student and no longer

 a member of UCF’s football team, he is no longer subject to the alleged policy he challenged; thus,

 his requested injunction boils down to a meaningless “obey the law injunction” and is aimed solely

 at past conduct rather than a continuing controversy between the parties, relying on Church v. City

 of Huntsville, 30 F.3d 1332, 1335 (11th Cir. 1994). The UCF Defendants’ contention is irrelevant

 under the Ex parte Young analysis because “[i]n determining whether the doctrine of Ex parte

 Young avoids an Eleventh Amendment bar to suit, a court need only conduct a ‘straightforward

 inquiry into whether [the] complaint alleges an ongoing violation of federal law and seeks relief

 properly characterized as prospective.’” Verizon Maryland, Inc., 535 U.S. at 645 (citation and


                                                 - 30 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 31 of 38 PageID 756




 internal quotation marks omitted.) Plaintiff’s requested injunction preventing UCF from applying

 the NCAA Bylaw against him in the future seeks prospective relief.                           Moreover, the UCF

 Defendants’ reliance on Church v. City of Huntsville, 30 F.3d 1332 (11th Cir. 1994), is misplaced

 as the section they rely upon discussed standing, not the Eleventh Amendment. Further, “[w]hat

 Defendants fail to grasp, however, is that the prohibition [against “obey the law” injunctions]

 applies to a court’s unspecific grant of an injunction, rather than a party’s request.” Sec. & Exch.

 Comm’n v. Kingdom Legacy Gen. Partner, LLC, No. 2:16-CV-441-FTM-38MRM, 2017 WL

 417093, at *10 (M.D. Fla. Jan. 31, 2017).

          The UCF Defendants’ final argument is Plaintiff’s request for declaratory judgment14 is

 barred, just as injunctive relief is. (Doc. 43 at 9.) However, because the Court finds that Plaintiff’s

 injunction is not barred by the Eleventh Amendment, the UCF Defendants’ argument fails. They

 rely on Green v. Mansour, 474 U.S. 64, 71, 106 S. Ct. 423, 427, 88 L. Ed. 2d 371 (1985). In Green,

 the Supreme Court determined that a declaratory judgment was barred by the Eleventh

 Amendment because“[t]here [was] no claimed continuing violation of federal law, and therefore

 no occasion to issue an injunction.” Id. at 73. In contrast, in this case, Plaintiff alleges a continuing

 violation of the federal constitution (Doc. 1 ¶ 47) and an injunction would be appropriate relief.

 The UCF Defendants also argue that because Plaintiff seeks a declaration that adjudicates only

 past conduct, the requested relief would amount to an advisory opinion and should be dismissed.

 (Doc. 43 at 10.) The UCF Defendants emphasize how the adverse actions mentioned by Plaintiff

 occurred in the past and he is no longer at UCF. (Id.) As discussed supra, Plaintiff stated his intent

 to seek readmission once his scholarship eligibility is restored. This request for relief also meets

 the Ex parte Young exception as Plaintiff alleges an ongoing violation of his constitutional rights


          14
             Plaintiff requests a judgment declaring: “UCF’s policies, practices, or customs of relying on the NCAA
 rule in taking adverse actions against [Plaintiff] based on the content of his speech is unconstitutional because it
 violates his freedom of speech and due process of law guaranteed by the First and Fourteenth Amendments. . . .”
 (Doc. 1 at 11–12.)
                                                         - 31 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 32 of 38 PageID 757




 and this form of relief is prospective. Based on the foregoing, the Court finds that all of Plaintiff’s

 requested forms of relief meet the Ex parte Young exception and are not barred by the Eleventh

 Amendment.


 C. Count I: First Amendment Claim under § 1983

          In Count I, Plaintiff brings a § 1983 claim for violation of his right to free speech under the

 First and Fourteenth Amendments. Plaintiff alleges that UCF violated his freedom of speech by

 engaging in content-based discrimination.15 The UCF Defendants do not dispute this but instead

 compellingly argue that Plaintiff expressly agreed to comply with all NCAA rules as condition of

 his athletic scholarship and thus waived any claims against UCF for enforcing them, the doctrine

 of unconstitutional conditions 16 cannot invalidate Plaintiff’s express waiver, and Johnston v.

 Tampa Sports Authority, 530 F.3d 1320 (11th Cir. 2008), controls this case. (Docs. 43 at 11–15,

 53 at 2–3.) The Court finds that Plaintiff’s allegations state a plausible First Amendment claim,

 and the UCF Defendants’ Motion be will denied as to Count I.

          “A successful section 1983 action requires that the plaintiff show [he] was deprived of a

 federal right by a person acting under color of state law.” Almand v. DeKalb Cty., Ga., 103 F.3d

 1510, 1513 (11th Cir. 1997) (citation omitted). In this case, Plaintiff is alleging a violation of his

 First Amendment right to free speech. The Free Speech Clause of the First Amendment provides:

 “Congress shall make no law . . . abridging the freedom of speech . . . .” U.S. CONST. amend. I.


          15
              In a footnote in Plaintiff’s Response, he attempts to raise a “viewpoint” discrimination claim, arguing
 that UCF’s application of the NCAA rules against him is based on his viewpoint as a student-athlete (Doc. 47 at 14
 n.1.) Plaintiff failed to such a claim in his Complaint and the time for amending pleadings having run, the claim is
 waived. See Brown v. Jarvis, No. 3:13-CV-915-J-34MCR, 2014 WL 1293066, at *5 (M.D. Fla. Mar. 28, 2014)
 (holding that plaintiff could not “rely on allegations in her Response which are not set forth in her Complaint”)
 (citation omitted); (Doc. 41 at 1.) (establishing May 11, 2017 as the deadline for the parties to amend pleadings).
 Similarly, Plaintiff for the first time in his Response, asserts that UCF played a “major role” in formulating the
 NCAA rules that UCF applied against him. (Doc. 43 at 18–19.) For the reasons discussed supra, this assertion is
 also waived.
           16
              “The doctrine of unconstitutional conditions prohibits terminating benefits, though not classified as
 entitlements, if the termination is based on motivations that other constitutional provisions proscribe.” Adams v.
 James, 784 F.2d 1077, 1080 (11th Cir. 1986) (citations omitted).
                                                        - 32 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 33 of 38 PageID 758




 The Free Speech Clause is made applicable to the States via the Fourteenth Amendment. See

 Gitlow v. New York, 268 U.S. 652, 45 S.Ct. 625, 69 L.Ed. 1138 (1925). “[T]he First Amendment

 means that government has no power to restrict expression because of its message, its ideas, its

 subject matter, or its content.” Police Dep’t of City of Chicago v. Mosley, 408 U.S. 92, 95, 92 S.

 Ct. 2286, 2290, 33 L. Ed. 2d 212 (1972) (citations omitted). Accordingly, governmental

 “[r]estrictions on speech based on its content are ‘presumptively invalid’ and subject to strict

 scrutiny.” Ysursa v. Pocatello Educ. Ass’n, 555 U.S. 353, 358, 129 S.Ct. 1093, 172 L.Ed.2d 770

 (2009) (citations omitted). “Government regulation of speech is content based if a [regulation]

 applies to particular speech because of the topic discussed or the idea or message expressed.” Reed

 v. Town of Gilbert, Ariz., 135 S. Ct. 2218, 2227, 192 L. Ed. 2d 236 (2015) (citations omitted). This

 section of the motion is governed by Rule 12(b)(6). The Court accepts as true the factual

 allegations in the complaint and draws all reasonable inferences in the light most favorable to

 Plaintiff. Randall 610 F.3d at 705. At this stage, Plaintiff only needs to allege enough facts to state

 a plausible claim. See Twombly, 550 U.S. at 570.

        In his Complaint, Plaintiff details how UCF canceled his scholarship and removed him

 from the football team based on his YouTube channel being monetized and the content of the

 speech in his videos, such as his discussion of his life as a student-athlete. At this stage, these

 allegations are sufficient to with-stand the Motion to Dismiss. Moreover, these allegations provide

 the UCF Defendants with “fair notice of what the . . . claim is and the grounds upon which it rests.”

 Iqbal, 556 U.S. at 698–99 (citations and internal quotation marks omitted).

        The UCF Defendants raise arguments that the Court finds more suitable for summary

 judgment. They argue that Plaintiff consented to comply with NCAA rules as a condition of

 receiving a scholarship and thus waived any claims. However, at the motion to dismiss stage, the

 Court examines whether the facts allege in the complaint state a plausible claim for relief and a


                                                 - 33 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 34 of 38 PageID 759




 complaint is allowed to go forward even if it appears “that recovery is very remote and unlikely.”

 Twombly, 550 U.S. 544, 556 (2007) (quoting Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683,

 40 L.Ed.2d 90 (1974), overruled on other grounds by Davis v. Scherer, 468 U.S. 183, 104 S.Ct.

 3012, 82 L.Ed.2d 139 (1984)). The UCF Defendants heavily rely on Johnston. However, Johnston

 did not involve a 12(b)(6) motion to dismiss, but review of a preliminary injunction and whether

 the plaintiff had shown a substantial likelihood of succeeding on the merits. Johnston, 530 F.3d at

 1324–25. Therefore, the Court will deny the UCF Defendants’ Motion as to Count I.


 D. Count II: Substantive Due Process Claim under § 1983

        In Count II, Plaintiff brings a § 1983 claim for violation of his substantive due process right

 under the Fourteenth Amendment. Plaintiff asserts that “[t]he arbitrary rescission of [Plaintiff’s]

 scholarship violates his substantive due process rights under the Due Process Clause of the

 Fourteenth Amendment.” (Doc. 1 ¶ 53.) Plaintiff argues that the cancellation of his scholarship

 was arbitrary because it was unrelated to his academic status, disciplinary standing, or athletic

 performance. (Id. ¶ 52.) The UCF Defendants argue that Plaintiff’s substantive due process claim

 must be dismissed because Plaintiff has no fundamental right to receive athletic scholarship funds.

 (Doc. 43 at 22–23.) The Court agrees.

        “To state a substantive due process claim, Plaintiff must identify a violation of a

 ‘fundamental right.’” MCO Airport Concessions, LLC v. Greater Orlando Aviation Auth., No.

 6:11-CV-742-ORL22GJK, 2012 WL 12896558, at *7 (M.D. Fla. Feb. 14, 2012), aff’d, 508 F.

 App’x 920 (11th Cir. 2013) (citations and internal quotation marks omitted). In this case, Plaintiff

 has failed to do so. Fundamental rights are created only by the Constitution. DeKalb Stone, Inc. v.

 County of DeKalb, Ga., 106 F.3d 956, 959 n.6 (11th Cir. 1997) (per curiam); McKinney v. Pate,

 20 F.3d 1550, 1556 (11th Cir. 1994) (“[S]ubstantive due process rights are created only by the

 Constitution.”) (quoting Ewing, 474 U.S. at 229). Plaintiff alleges that he has a vested and

                                                - 34 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 35 of 38 PageID 760




 constitutionally protected property interest in his athletic scholarship. (Doc 1 at ¶ 49.) (emphasis

 added). However, “[b]ecause property rights are not created by the Constitution, they are not

 fundamental rights.” Foley v. Orange Cty., 638 F. App’x 941, 944 (11th Cir. 2016) (citing

 Greenbriar Vill., L.L.C. v. Mountain Brook, City, 345 F.3d 1258, 1262 (11th Cir. 2003)); see Myers

 v. Fla., No. 5:12-CV-259-RS-EMT, 2014 WL 68067, at *5 (N.D. Fla. Jan. 8, 2014) (“[Property

 interests] are not fundamental rights, and thus they are not entitled to substantive due process

 protection.”) (citations omitted). “Rather [property interests] are created and their dimensions are

 defined by existing rules or understandings that stem from an independent source such as state

 law. . . .” Board of Regents v. Roth, 408 U.S. 564, 577, 92 S.Ct. 2701, 2709, 33 L.Ed.2d 548

 (1972); see K & H Dev. Grp., Inc. v. Howard, No. 3:06-CV494/MD, 2009 WL 1034971, at *11

 (N.D. Fla. Mar. 27, 2009) (“It is well-accepted that property interests are not created by the

 Constitution. . . .”) (citations omitted).

          In this case, Plaintiff’s alleged property interest arises from his scholarship agreement with

 UCF, not the Constitution; therefore, it is not a substantive due process right. Plaintiff’s substantive

 due process claim fails because Plaintiff has no fundamental right to an athletic scholarship.17

 Costello v. Univ. of N. Carolina at Greensboro, 394 F. Supp. 2d 752, 758 (M.D.N.C. 2005)

 (“Neither the privilege to play collegiate sports nor the benefit of receiving a scholarship to do so,

 rises to the level of a right, let alone a fundamental right . . . .”); see Dozier v. Loop Coll., City of

 Chi., 776 F.2d 752, 753 (7th Cir. 1985) (“[T]here is no substantive right to a subsidized education

 even through secondary school; perforce there is no right to college education at public expense.”)



          17
             Although the Eleventh Circuit recognizes the “legislative act” exception to the general rule that state-
 created, non-fundamental rights are not protected by the substantive due process, UCF’s cancellation of Plaintiff’s
 scholarship is clearly a non-legislative act because it only applied to him. Lewis v. Brown, 409 F.3d 1271 (11th Cir.
 2005) (per curiam). Since UCF’s cancellation of Plaintiff’s scholarship is a non-legislative act, Plaintiff’s argument
 that the cancellation was arbitrary is irrelevant. Greenbriar Vill., L.L.C, 345 F.3d at 1263 (“[N]on-legislative
 deprivations of state-created rights. . . cannot support a substantive due process claim, not even if the plaintiff
 alleges that the government acted arbitrary and irrationally.”) (citation omitted).
                                                         - 35 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 36 of 38 PageID 761




 (citation omitted); Black v. Sullivan, 561 F. Supp. 1050, 1058 (D.Me. 1983) ( “A state-subsidized,

 post-secondary education is not a fundamental constitutional right.”) (citations omitted).18

          In his Response and at the hearing, Plaintiff attempts to recast the due process issue as UCF

 preventing from him continuing his enrollment at UCF; he claims to have a protected interest in

 continuing enrollment at UCF, relying on Barnes v. Zaccari, 669 F.3d 1295 (11th Cir. 2012)19 and

 Regents of University of Michigan v. Ewing, 474 U.S. 214, 106 S.Ct. 507, 88 L.Ed.2d 523 (1985).

          In Ewing and Board of Curators of the University of Missouri v. Horowitz, 435 U.S. 78,

 84–85 (1978),the Supreme Court assumed, without deciding, in the limited context of students

 challenging academic dismissals, that the plaintiff had a protected property interest in his or her

 continued enrollment in a state university but found the substantive due process claims were

 without merit because the plaintiffs failed to demonstrate arbitrary state action. Subsequently, the

 Eleventh Circuit and other courts also assumed, without deciding, that “a student who is subject to

 academic dismissal may maintain a cause of action for the violation of his right to substantive due

 process.” Richmond v. Fowlkes, 228 F.3d 854, 859 (8th Cir. 2000); see, e.g., Keefe v. Adams, 840

 F.3d 523, 533 (8th Cir. 2016) (“Following the Supreme Court’s lead, we have repeatedly assumed

 without deciding that an academic dismissal may be challenged on substantive due process

 grounds but upheld the summary rejection of those claims, applying the Supreme Court’s

 deferential standard.”); Haberle v. University of Alabama in Birmingham, 803 F.2d 1536, 1539–

 41, 1541 n.1 (11th Cir. 1986) (relying on Ewing); Bradley v. Univ. Sys. of Georgia, No. 1:10-MI-




          18
             Moreover, the Supreme Court has held that there is no fundamental right to an education. Plyler v. Doe,
 457 U.S. 202, 221, 102 S. Ct. 2382, 2396, 72 L. Ed. 2d 786 (1982) (“Public education is not a ‘right’ granted to
 individuals by the Constitution.”) (citation omitted); San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 35, 93
 S. Ct. 1278, 1297, 36 L. Ed. 2d 16 (1973) (“Education, of course, is not among the rights afforded explicit protection
 under our Federal Constitution. Nor do we find any basis for saying it is implicitly so protected.”).
           19
              To the extent Plaintiff relies on Barnes v. Zaccari, 669 F.3d 1295 (11th Cir. 2012), the case is inapposite
 because it is a procedural due process case and does not address a substantive due process claim. In this case,
 Plaintiff does not assert a procedural due process claim. See Taylor By & Through Walker v. Ledbetter, 818 F. 2d
 791, 794 (11th Cir. 1987) (distinguishing substantive and procedural due process).
                                                         - 36 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 37 of 38 PageID 762




 00029-AJB, 2010 WL 1416862, at *6 n.10 (N.D. Ga. Mar. 11, 2010) (“[The] Supreme Court has

 assumed without deciding that a dismissed professional school student may have procedural and

 substantive due process claims.”); Hammond v. Auburn Univ., 669 F. Supp. 1555, 1561 (M.D. Ala.

 1987), aff’d, 858 F.2d 744 (11th Cir. 1988) (assuming that a dismissed college student had a

 constitutionally protected property or liberty interest in his post-secondary education). Similarly,

 courts have assumed a fundamental right to continued enrollment in the related context of school

 suspensions. See, e.g., Koeppel v. Romano, 252 F. Supp. 3d 1310, 1321 (M.D. Fla. 2017)

 (involving a student’s suspension from a community college’s nursing program and relying on

 Horowitz).

        However, these academic dismissal and suspension cases are inapposite because UCF did

 not academically dismiss nor suspend Plaintiff. UCF removed him from the football team and

 cancelled his scholarship. Plaintiff has not cited any case law involving a student’s removal from

 an athletic team and cancellation of a scholarship which assumes a fundamental right in continuing

 enrollment at a post-secondary institution. “The Supreme Court strongly cautions against

 expanding the scope of substantive due process because of the inability to sufficiently narrow its

 parameters by providing reasonable ‘guideposts for responsible decisionmaking.’” Collins v. City

 of Harker Heights, Tex., 503 U.S. 115, 125 (1992) (citing Ewing). Therefore, the Court does not

 find that Plaintiff’s claim invokes an assumed fundamental right to continued enrollment at UCF.

 See Eiland v. Blagburn, No. 305-CV-459-WKW, 2007 WL 2926863, at *9–10 (M.D. Ala. Oct. 5,

 2007) (finding that former student could not rely on assumed constitutionally-protected property

 right to continue his continued college education to state a substantive due process claim because

 he had not been dismissed from his doctoral program).




                                                - 37 -
Case 6:18-cv-00135-ACC-GJK Document 60 Filed 07/10/18 Page 38 of 38 PageID 763




                                               IV. CONCLUSION20

          Based on the foregoing, it is ordered as follows:

          1.       Defendants’ Motion to Dismiss, (Doc. 43), filed on April 2, 2018, is DENIED as

 to Count I and GRANTED as to Count II.

          2.       Defendants SHALL FILE an answer and any defenses to Count I of the

 Complaint within fourteen days after this Order’s date.

          DONE and ORDERED in Chambers, in Orlando, Florida on July 10, 2018.




 Copies furnished to:

 Counsel of Record




           20
              The Court notes that in Plaintiff’s declaration he states: “I never received written notice that I was kicked
 off the team or that UCF had cancelled my scholarship. No one at UCF informed me that I had a right to contest this
 decision.” (Doc. 47-1 at ¶ 18.) However, in their Reply, the UCF Defendants provided a copy of an e-mail that UCF
 officials sent to Plaintiff on August 11, 2017, informing him of the cancellation of his scholarship and his right to
 appeal. (Doc. 53-1 at 5–6.) According to the UCF Defendants, the e-mail was successfully delivered. (Doc. 53).
 While the Court did not consider this discrepancy in rendering its decision, Plaintiff’s statement is misleading.
                                                           - 38 -
